        Case 14-02169-jw                  Doc 62 Filed 07/02/14 Entered 07/02/14 14:44:21                                              Desc Order
                                             Confirming Ch 13 Plan (1 Page 1 of 1
Form 162aBNC (Revised 03/07/2014)


                                                           United States Bankruptcy Court
                                                              District of South Carolina



Case Number: 14−02169−jw                                                          Chapter: 13

In re: (Debtor(s) name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address)
 David Ashley Lehr                                                             Laura Ann Lehr
 107 See Wee Ct.                                                               aka Laura Ann Sheldon
 Summerville, SC 29483                                                         107 See Wee Ct.
                                                                               Summerville, SC 29483
 SSN: xxx−xx−5785
                                                                               SSN: xxx−xx−3453
                                                                                                                                 Filed By The Court
     Entered By The Court                ORDER CONFIRMING PLAN AND RESOLVING MOTIONS                                                    7/2/14
            7/2/14                                                                                                                  Laura A. Austin
                                                                                                                                     Clerk of Court
                                                                                                                                  US Bankruptcy Court

                                                                                                           1
It having been determined after notice and hearing that the plan filed by the debtor(s) on 05/27/2014, as modified on N/A,
complies with the provisions of Chapter 13 (11 U.S.C. § 1301 et seq.), and with all other applicable provisions of Title 11 of the
United States Code and that all fees and charges to be paid before confirmation have been paid;

        IT IS ORDERED THAT:

1.      The plan is confirmed.

2.      The debtor shall not incur indebtedness nor sell, encumber, or otherwise transfer any interest in estate property outside
        the ordinary course of business without approval of the court.

3.      The court hereby values secured claims and voids liens as set forth in the confirmed plan or as established by seperate
        order to the extent permitted by 11 U.S.C. § 506 (a), 506(d), § 1325(a), and applicable law.

4.      Pursuant to 11 U.S.C. § 522(f)(1)(A) and/or (B), the court hereby finds that the security interests to be avoided as set forth
        in the confirmed plan or by separate order impair an exemption to which the debtor would otherwise be entitled under 11
        U.S.C. § 522(b) and South Carolina Code § 15−41−30 and are, therefore, avoided.




 Date: July 2, 2014                                                               United States Bankruptcy Judge

 Document 62 − 40, 49

1 When used herein, the term "debtor" shall apply as applicable either in the singular or in the plural, if there are joint debtors in the case.
